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Request Of The Official Committee Of Unsecured Creditors For A Status C                                  Pg 1 of 11
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                                      Iain A. W. Nasatir                        2FWREHU                  310.277.6910
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